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                                  EXHIBITE
Case 2:11-cv-11205-SFC-RSW ECF No. 27-6, PageID.397 Filed 11/10/11 Page 2 of 20




                            U~ITED STATES DISTRICT COURT
                            EASTER,"I DISTRICT OF MICHIGAN
                                 SOUTHER,"I DIVISION



 STEVE CONLEY, NANCY CONLEY,
 Individually and NANCY CONLEY
 as NEXT FRIE~D OF J. C., a Minor

 Plaintiffs                                         Case No. 2:1 I-cv-l 1205
                                                    Hon. Sean F. Cox
 v.                                                 Magistrate Judge R. Steven Whalen

 MLT, INC., a Minnesota corporation,
 DIAMOND HOTELS COZUMEL S.A.
 de C. V., a foreign corporation, HOLIDAY
 VILLAGE \VHITE SANDS S.A., a foreign
 corporation, OCCIDENTAL HOTELS
 MANAGEMENT B.V., a foreign corporation,
 OCCIDENTAL HOTELES MANAGEMENT,
 S.L., a foreign corporation, and ALLEGRO
 RESORTS MARKETING CORPORATION,
 a Florida corporation

              Defendants,

 LAW OFFICES OF BENNER & FORAN               EBONY L. DUFF (P6543I)
 BRIAN J. BE:t\TNER (P25239)                 Attomey for Defendant MLT, Inc
 NA~CY SAVAGEAU (P56546)                     1000 Woodbridge Street
 DAVID A. PRIEHS (P39606)                    Detroit, MI 48207
 Attomeys for Plaintiffs                     313-446-5543!313-259-0450(fax)
 28116 Orchard Lake Road
 Fannington Hills, MI 48334                  WILLIAM J. CREMER
 248-737-5544!248-737-5545(fax)              JOSHUA D. YEAGER
                                             CREMER, SPINA, SHAUGHNESSY,
 ANTHONY J. CALATI (P34994)                  JANESEN & SIEGERT, LLC
 Attomey for Allegro Resorts Marketing       Counsel for Defendant Occidental Hotels
 333 W. Fort Street, Suite 1600              180 North LaSalle Street Suite 3300
 Detroit, MI 48226                           Chicago, IL 60601
 313-965-6100!313-731-0410(fax)              312-726-3800
                                                                                    !
Case 2:11-cv-11205-SFC-RSW ECF No. 27-6, PageID.398 Filed 11/10/11 Page 3 of 20




     NOTICE OF TAKING DEPOSITION DUCES TECUM OF THE Mt,I, INC
 EMPLOYEE PERSON MOST KNOWLEDGEABLE REGARDING CONTRACTS AND
 OTHER BUSINESS RELATIONSHIPS WHICH MLT, INC. HAS ENGAGED IN WITH
    CO-DEFENDANTS ALLEGRO RESORTS MARKETING CORPORATION,
    OCCIDENTAL HOTELS MANAGEMENT B.V., OCCIDENTAL HOTELES
     :\tlANAGEMENT S.L. AND DIAMOND HOTELS COZUMEL S.A. DE C.V.



        PLEASE TAKE NOTICE that pursuantto FRCP 30 (b)( 6) the Deposition ofthe Person Most

 Knowledgeable Person Most Knowledgeable Regarding Contracts and Other Business Relationships

 which ML T, Inc. has Engaged in with Co-Defendants Allegro Resorts Marketing Corporation,

 Occidental Hotels Managcment B.V., Occidental Hotclcs Management S.L. and Diamond Hotels

 Cozumel S.A. DE C.V. will be taken according to FRCP 30(b)(6) at a date and location to be

 determined at a later time. This deposition duces tecum will be used for all purposes allowable

 pursuant to the Federal Rules of Civil Procedure.

        The witness shall produce at his/her deposition for inspection and copying:

        I.     All documents and other records, including those stored on electronic medium,
               which embody, describe andlor refer to past andlor present contracts andlor other
               agreements which have existed between ML T, Inc. and any of the co-defendants.

        2.     All documents and other records, including e-mails, text messages and other
               electronic records, which embody, describe andlor refer to communications
               between employees/agents ofMLT, Inc. and any other entity which relate in any
               way to the injnry of Jonathon Conley andlor the claims arising from that injury.

        3,     All records of the transaction by which plaintiffs booked the vacation in question,
               including those referring to All Around Travel, Inc.
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                                    LAW OFFICES OF BEN:'JER & FORA:"!


                                    Bv:/sIDavid A. Priehs (P39606)
                                    BRIAN 1. BEN:'JER (P25239)
                                    DAVID A. PRIEHS (P39606)
                                    Attorneys for Plaintiffs
                                    28116 Orchard Lake Road
                                    Fannington Hills, MJ 48334
                                    248-737-5544
 Dated: November 10,2011
Case 2:11-cv-11205-SFC-RSW ECF No. 27-6, PageID.400 Filed 11/10/11 Page 5 of 20




                             l:NITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION




 STEVE CONLEY, NANCY CONLEY,
 Individually and NANCY CONLEY
 as NEXT FRIEND OF J. C., a Minor

 Plaintiffs                                          Casc No.2: 11-cv-11205
                                                     Hon. Sean F. Cox
 v.                                                  Magistrate Judge R. Steven Whalen

 MLT, INC., a Minnesota corporation,
 DIAMOND HOTELS COZUMEL SA
 de C.V., a foreign corporation, HOLIDAY
 VILLAGE WHITE SANDS SA, a foreign
 corporation, OCCIDENTAL HOTELS
 MANAGEMENT B.V., a foreign corporation,
 OCCIDENTAL HOTELES MANAGEMENT,
 S.L., a foreign corporation, and ALLEGRO
 RESORTS MARKETING CORPORATION,
 a Florida corporation

               Defendants,

 LAW OFFICES OF BENNER & FORAN                EBONY L. DUFF (P6543I )
 BRIAN J. BENNER (P25239)                     Attorney for Defendant MLT, Inc
 NANCY SAVAGEAU (P56546)                      1000 Woodbridge Street
 DAVID A. PRIEHS (P39606)                      Detroit, MI 48207
 Attorneys for Plaintiffs                     3l3-446-5543/313-259-0450(fax)
 28116 Orchard Lake Road
 Fannington Hills, MI 48334                   WILLIAM J. CREMER
 248-737-5544/248-737-5545(fax)               JOSHUA D. YEAGER
                                              CREMER, SPINA, SHAUGHNESSY,
 ANTHONY J. CALATI (P34994)                   JANESEN & SIEGERT, LLC
 Attorney for Allegro Resorts Marketing       Counsel for Defendant Occidental Hotels
 333 W. Fort Street, Suite 1600               180 North LaSalle Street Suite 3300
 Detroit, MI 48226                            Chicago, IL 60601
 313-965-6100/313-731-0410(fax)               312-726-3800
                                                                                    I
Case 2:11-cv-11205-SFC-RSW ECF No. 27-6, PageID.401 Filed 11/10/11 Page 6 of 20




                   PLAINTIFFS INTERROGA TOmES TO DEFENDANT,
                           MLl INC, a Minnesota Corporation


        NOW COME the Plaintiffs herein, hy and through their attorneys, Benner and Fordl1, and

 submits the following Interrogatories to the above Defendant, ML T, INC, a Minnesota corporation.

        PLEASE TAKE NOTICE that the following Interrogatories are directed to each of the

 above-captioned Defendant, under the provisions ofFRCP 33 and the various subdivisions thereof,

 and defendant is separately required to answer said Interrogatories and to furnish such information

 as is available to you. The information available to you shall include all information discoverable

 within the possession or knowledge ofyour agents, employees, attorneys, investigators or the agents

 of same, and who are eompetent to testifY as to the facts stated.

        You are req uired to file Answers to the Interrogatories under oath and the answers shall be

 signed by you according to the provisions ofFRCP 33(b)(2). Also, you are required to answer the

 Interrogatories under oath within thirty (30) days after service of them upon you.

        Each of the Interrogatories shall be deemed to be continuing in nature so as to require that

 supplemental answers be tiled if information is obtained in addition to, or if different from, that set

 forth in the original answers hereto, according to provisions ofFRCP 26(e)

                                           DEFINITIONS

        For the purposes of these Interrogatories, the following definitions shall apply:

        A.      The term "documcnts" shall mean, without limitation, every writing or record of

 every type and description that is or has been in the possession, control or custody ofeach Defendant

 or of which it has knowledge, including, without limitations, files, correspondence, records, notes,

 evaluations, memoranda, communications, pamphlets, publications, voice recordings, computer


                                                   2
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 files, discs, cd-rom, and statistical complications; every copy of such writing or record where the

 original is not in the possession, custody or control of each Defendant and every copy of such

 writing or record where such copy is not an identical copy of the original.

        B.      The term "Defendant" when used in these Interrogatories shaU refer to, Defendant

 MLT, Inc, named in the Complaint and also includes aU agents, employees, associates and other

 representatives of and experts and/or consultants hired by or retained on behalf of each Defendant

 The term "Defendants" shall refer to all Defendants named in the Complaint


                                      INTERROGA TORIES


 Defendant's Direct Business Contacts with the State ofMichigan

 1.     For each of the calendar years 1990 through 20 I 0, inclusive, state:

        a.      The number of customers who booked rooms in the defendant's resorts located in
                Mexico, Costa Rica, Aruba and the Dominican Republic.
        b.      The number of customers who booked rooms in the defendant's resorts located in
                Mexico, Cosla Rica, Aruba and the Dominican Republic who made their purchase
                in the United States.
        c.      The number of customers who booked rooms in the defendant's resorts located in
                Mexico, Costa Rica, Aruba and the Dominican Republic who resided in the State of
                Michigan and/or made their purchase from the State of Michigan.
        d.      The defendant's total revenues from defendant's resorts located in Mexico, Costa
                Rica, Aruba and the Dominican Republic.
 ANSWER:




 2.     Identify and describe all advertising/marketing activities directed to residents of the State

 of Michigan by or on behalfofMLT INC and/or Allegro Resorts Marketing Corporation during the



                                                  3
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 period from Jan. I, 1990 through the present. For each such activity state:

        a.      The nature of the activity, i.e. mailings, television/radio, telephone solicitation,
                newspaper, magazine or other periodical, etc.
        b.      The media outlet involved and the volume;
        c.      The periods during which the activities took place;
        d.      The content.




 3.     Identify all contracts entered into by or on behalf of ML T, INC. with persons and/or other

 entities residing and/or operating in the State of Michigan. For each state:

        a,      The parties to the contract and date of execution;
        b.      The subject and tenns of the contract;
        c,      The identity ofthe person presently having possession (name, address, employer and
                title)

 ANSWER:




 4.     Identify all contracts entered into by or on behalf of MLT, I NC .. with persons and/or other

 entities residing and/or operating in the State of Michigan. For each state:

        a.      The parties to the contract and date of execution;
        b.      The subject and tenns of the contract;
        c.      The identity oflhe person presently having possession (nanle, address, employer and
                title)

 ANSWER:


 5.     Identify all contracts entered into by or on behalfof Allegro Resorts Marketing Corporation

 with persons and/or other entities residing and/or operating in the State ofMichigan. For each state:


                                                  4
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        a.      The parties to the contract and date of execution;
        b.      The subject and terms of the contract;
        c.      The identity oflhe person presently having possession (name, address, employer and
                title)
 ANSWER:




 6.     Identify all meetings conducted/attended by employees/representatives of the defendant

 within the State of Michigan. For each state:

        a.      The date and purpose of the meeting;
        b.      Identify the attendees;


 ANSWER:




 7.     Identify all leasing/rental agreements for real property located in the State of Michigan

 entered into by or on behalf of the defendant.


 ANSWER:




 8.     Has the defendant ever been registered or authorized to do business in Michigan and/or

 maintained a resident agent in the State of Michigan? If80, state:

        a.      The nature of the registration/authorization;
        b.      The periods of such registration/authorization.

 ANSWER:



                                                  5
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  9.     Has the defendant, either directly or through agents, ever offered goods for sale or services

  for use in Michigan, If so, state:

         a,      Describe the goods and/or services offered;
         b,      The periods during which such offers were made.


  ANS\VER:




  10.    Identi/'y the number of travel agents located in the State ofMichigan to whom the defendant

  has ever paid a commission or other fee. Also state:

         a.      Identi/'y the contracts or other agreements under the terms of which the
                 commissions/fees were paid.
         b.      The total amount of commissions/fees paid by or on behalf of the defendant during
                 each of the calendar years from 1990 to 2010 inclusive.

  ANSWER:




  II.    Has the defendant offered to travel agents the opportunity to register/enroll for any programs

  and/or services offered by or on behalf of the defendant? If so, for each service/program state:

         a.      Describe the service/program and the periods it existed;
         b.      Describe the necessary qualifications to be eligible for the service/program and the
                 means of registration/enrollment;
         c.      Describe the benefits available to registrants/enrollees;
         d.      State the total number of registrants/enrollees and of those located in the State of
                 Michigan.

  ANSWER:



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 Relatiollsilip witil Co-Defendallts

  12.   Identify (name address, employer and title) ofall persons who have been responsible for the

 day to day operation of the Allegro Cozumel resort (the resort which J.C was injured on April II,

 2009) which during the period from Jan. 1, 1990 through the present.

 ANSWER:




 13.    Describe defendant ML T, INC's involvement with the Allegro Cozumel resort (the resort

 which le. was injured on April 11, 2009) during the period from Jan. 1, 1990 through the present.



 ANSWER:




  14.   Describe defendant MLT, INC's involvement with the Allegro Cozumel resort (the resort

 which lC was injured on April 11,2009) during the period from Jan. 1, 1990 through the present.



 ANSWER:




 15.    Describe defendant Allegro Resorts Marketing Corp.'s involvement with the Allegro

 Cozumel resort (the resort which J.C was injured on April II, 2009) during the period from Jan.

                                                7
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 I, 1990 through the present.


 ANSWER:




 16.    Identify all contracts and other agreements, including operating agreements, which have been

 entered into between defendant ML T, INC. and defendant Allegro Resort Marketing, Corp.

 providing date of execution, title, signatories and person(s) presently having possession.

 ANSWER:



 17.    IdentifY all contracts and other agreements, including operating agreements, which have

 been entered into between defendant ML T, INC. and defendant Diamond Hotels Cozumel S.A.

 providing date of execution, title, signatories and person(s) presently having possession.

 ANSWER:




 18.    IdentifY all contracts and other agreements, including operating agreements, which have been

 entered into between defendant MLT, INC. and defendant Occidental Hoteles Management S.L.,

 providing date of execution, title, signatories and person(s) presently having possession.



                                                  8
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 ANSWER:




 19.    Identify all contracts and other agreements which have been entered into between defendant

 MLT, IKe. and defendant, Occidental Hotels Management B.V .. providing date of execution, title,

 signatories and person(s) presently having possession.

 ANSWER:




 20.    Identify all contracts and other agreements which have been entered into between defendant

 MLT, INC., Occidental Hoteles Management S.L. and defendant Diamond Hotels Cozumel S.A. de

 e.V. providing date of execution, title, signatories and person(s) presently having possession.

 ANSWER:




 21.    Identify all contracts and other agreements which havc been entered into between defendant

 Allegro Resorts Marketing Corp. and defendant Diamond Hotels Cozumel S.A. de e.V. providing

 date ofexecution, title, signatories and person(s) presently having possession.

 ANSWER:




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  22.    Has MLT. INC. its officers, shareholders or subsidiaries received any disbursements of

  revenue earned by defendant Allegro? If so, describe each disbursement, the amount and its

  calculation.

  ANSWER:




  23.    Has MLT, INC. its officers, shareholders or subsidiaries received any disbursements of

  revenue earned by defendant Allegro? If so, describe each disbursement, the amount and its

  calculation.

  ANSWER:




  24.    Has MLT, INC.. its officers, shareholders or subsidiaries received any revenue earned

  through the operation of the Allegro Cozumel resort at which J.e. was injured on April II, 2009?

  If so, describe each disbursement, the amount and its calculation.

  ANSWER:




  25.    Has MLT, INC, its officers, shareholders or subsidiaries received any revenue earned

  through the operation of the Allegro Cozumel resort at which J.C. was injured on April II, 2009?

  If so, describe each disbursement, the amount and its calculation.

  ANSWER:


                                                  10
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 26.     Identify the sources of all operating capital for Allegro Resorts Marketing Corporation for

 the years 1990 through 20 I 0 inclusive.

 ANSWER:




 lnternet Marketing
 27.    Identity all web sites on which MLT, INC. properties have been advertised/marketed. For

 each state:

        a.      The domain name and the owner/registrant of the domain name;
        b.      The period of time the web site operated;
        c.      Thc Occidental Hotcls properties advertised/marketed;
        d.      Identity the host for the web site (name. address)
        e.      Identify the number ofbookings made to Occidental resort properties in Mexico, the
                Dominican Republic, Costa Rica and Aruba through the web site annually for the
                period from Jan. I. 1990 to Jan. 2011.
         f.     Identity the number of bookings ofcustomers located in the State ofMichigan made
                to Occidental resort properties in Mexico, the Dominican Republic, Costa Rica and
                Aruba through the web site annually for the period from Jan. I, 1990 to Jan. 20 II.
         g.     Provide the total value of bookings made to Occidental resort properties in Mexico,
                the Dominican Republic, Costa Rica and Aruba through the web site annually for the
                period from Jan. I, 1990 to Jan. 20 II.
        h.      Provide the total value of bookings of customers located in the State of Michigan
                made to Occidental resort properties in Mexico, the Dominican Republic, Costa Rica
                and Aruba through the web site annually for the period from Jan. 1, 1990 to Jan.
                2011.

         l.     Whether the site was interactive to the extent that bookings could be made and
                payment received;
        J.      Describe all agreements under the terms of which Occidental resorts were
                advertised/marketed on the web site.

 ANSWER:




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 28.    Identify all entities which have owned or had any interest in the domain name "Occidental

 Hotels.com". Also describe each entity's interest in the domain name and the period each interest

 was held.

 ANSWER:




                                             By Is! David A. Priehs (P39606)
                                             LAW OFFICES OF BENNER & FORAN
                                             BRIAN 1. BENNER (P25239)
                                             DAVID A PRIEHS (P39606)
                                             Attorneys for Plaintiff
                                             28116 Orchard Lake Road
                                             Farmington Hills, MI 48334-3737
                                             248-737-5544/Fax 248-737-5544
 Dated: November 10, 2011                    dap@dpriehspc.com




                                                12
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF MICHIGAN
 SOUTHERN DIVISION



 STEVE CONLEY, NANCY CONLEY,
 Individually and NANCY CONLEY
 as NEXT FRIEND OF 1. c., a Minor

 Plaintiffs                                            Case No.2: II-ev-11205
                                                       Hon. Sean F. Cox
 v.                                                    Magistrate Judge R. Steven Vv'halen

 MLT, INC., a Minnesota corporation,
 DIAMOND HOTELS COZUMEL S.A.
 de C.V., a foreign corporation, HOLIDAY
 VILLAGE WHITE SANDS S.A., a foreign
 corporation, OCCIDENTAL HOTELS
 MANAGEMENT B.V., a foreign corporation,
 OCCIDENTAL HOTELES MANAGEMENT,
 S.L., a foreign corporation, and ALLEGRO
 RESORTS MARKETING CORPORATION,
 a Florida corporation

               Defendants,
 ~---c-~-        .....   -~   ....- - - - - ­    ~-----c       ______.....-~....- - - - - - 'I
 LAW OFFICES OF BENNER & FORAN                  EBONY L. DUFF (P6543I )
 BRIAN J. BENNER (P25239)                       Attorney for Defendant ML T, Inc
 NANCY SAVAGEAU (P56546)                        1000 Woodbridge Street
 DA VID A. PRIEHS (P39606)                      Detroit, MI 48207
 Attorneys for Plaintiffs                       313-446-5543/313-259-0450(fax)
 28116 Orchard Lake Road
 Fannington Hills, MI 48334                     WILLIAM J. CREMER
 248-737-5544/248-737-5545(fax)                 JOSHUA D. YEAGER
                                                CREMER, SPINA, SHAUGHNESSY,
 ANTHONY 1. CALATI (P34994)                     JANESEN & SIEGERT, LLC
 Attorney for Allegro Resorts Marketing         Counsel for Defendant Occidental Hotels
 333 W. Fort Street, Suite 1600                 180 North LaSalle Street Suite 3300
 Detroit, MI 48226                              Chicago, IL 60601
 313-965-6100/313-731-0410(fax)                 312-726-3800
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION



 STEVE CONLEY, NANCY CONLEY,
 Individually and NANCY CONLEY
 as NEXT FRIEND OF J. c., a Minor

 Plaintiffs                                         Case No. 2:11-cv-11205
                                                    Hon. Sean F. Cox
 v.                                                 Magistrate Judge R. Steven Whalen

 MLT, INC., a Minnesota corporation,
 DIAMOND HOTELS COZUMEL SA
 de C.V., a foreign corporation, HOLIDAY
 VILLAGE WHITE SANDS SA, a foreign
 corporation, OCCIDENTAL HOTELS
 MANAGEMENT B.V., a foreign corporation,
 OCCIDENTAL HOTELES MANAGEMENT,
 S.L., a foreign corporation, and ALLEGRO
 RESORTS MARKETING CORPORATION,
 a Florida corporation

               Defendants,

 LAW OFFICES OF BENNER & FORAN               EBONY L. DUFF (P65431)
 BRIAN J. BENNER (P25239)                    Attorney for Defendant MLT, Inc
 NANCY SA VAGEAU (P56546)                    1000 Woodbridge Street
 DAVID A. PRIEHS (P39606)                    Detroit, MI 48207
 Attorneys for Plainti ffs                   313-446-5543/313-259-0450(fax)
 28116 Orchard Lake Road
 Fannington Hills, MI 48334                  WILLIAM J. CREMER
 248-737 -5544/248-73 7-5545(fax)            JOSHUA D. YEAGER
                                             CREMER, SPINA, SHAUGHNESSY,
 ANTHONY J. CALATI (P34994)                  JANESEN & SIEGERT, LLC
 Attorney for Allegro Resorts Marketing      Counsel for Defendant Occidental Hotels
 333 W. Fort Street, Suite 1600              180 North LaSalle Street Suite 3300
 Detroit, MI 48226                           Chicago, IL 6060 I
 313-965-6100/313-731-041O(fax)              312-726-3800
Case 2:11-cv-11205-SFC-RSW ECF No. 27-6, PageID.414 Filed 11/10/11 Page 19 of 20



             PLAINTIFF'S REOUEST FOR PRODUCTION OF DOCUMENTS
                 REGARDING PLAI:"!TIFFS INTERROGATORIES TO
                   DEFENDANT MLT, INC., a Minnesota corporation


 TO:    COUNSEL OF RECORD

       NOW COME the plaintiffs by and through their attorneys, Benner and Foran, and request

that the defendant, MLT, INC., a Minnesota corporation according to the provisions of FRCP

33(b)(2) produce for inspection and copying the following inlonnation and documentation to the Law

Offices ofBennner and Foran, 28116 Orchard Lake Road, Fannington Hills, MI 48334, within thirty

(30) days of service of this request upon you.

                                          DEFINITIONS

       I.      The tenns"documents" when used in this Request for Production shall mean, without

limitation, every writing ofrecord ofevery type and description that is or has been in the possession,

control or custody of MLT, INC., a Minnesota corporation or of which MLT, INC., a Minnesota

corporation has knowledge, including, without limitations, files, correspondencc, records,

evaluations. memoranda, communications, pamphlets, publications, voice recoding and statistical

compilations; cvery copy of such writing or record where the original is not in possession, custody

or control of defendant, MLT, INC., a Minnesota corporation and every copy of such writing or

record where such copy is not an identical copy ofthe original.

       2.      The lenn "defendant" when used in this request for production shan refer to MLT,

INC., a Minnesota corporation.      And also include an agents, employees, associates and other

representatives of and experts and/or consultants hired or retained on behalf of MLT, INC., a

Minnesota corporation.

       3.      For each document produced, identify the request for production of documents in

response to which it is produced and the answer to interrogatory in which it is identified.
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                            DOCUMENTS REQUESTED

       L     Any and all documents identified in response to Plaintiff's Interrogatories Directed

             to defendant, MLT, INC., a Minnesota corporation. For each document produced,

             identity the interrogatory and interrogatory subsection to which is corresponds.



                                           By lsI David A. Priehs (P39606)
                                           LAW OFFICES OF BENNER & FORAN
                                           BRIAN J. BENNER (P25239)
                                           DAVID A PRIEHS (P39606)
                                           Attorneys for Plaintiff
                                           28116 Orchard Lake Road
                                           Farmington Hills, MI 48334-3737
                                           248-737-5544/Fax 248-737-5544
 Dated: November 10,2011                   dap@dpriehspc.com
